                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

HOPPOCK LAW FIRM, LLC, et al.,                *
                                              *
       Plaintiffs,                            *
                                              *
       v.                                     *       Civil Action No. 4:22-cv-00062 (GAF)
                                              *
CYNTHIA MUNITA, et al.,                       *
                                              *
       Defendant.                             *
                                              *
*      *       *       *       *      *       *       *       *       *      *       *       *

             PLAINTIFFS’ NUNC PRO TUNC MOTION FOR ENLARGEMENT
                 OF TIME WITHIN WHICH TO SERVE DEFENDANTS

       NOW COME Plaintiffs Hoppock Law Firm, LLC, and Kelly Hewitt to respectfully move

the Court under Federal Rule of Civil Procedure 4(m) for a 30-day extension of time within

which to complete service of process on Defendants. Plaintiffs’ service deadline is currently 28

April 2022, and this Motion would extend that deadline until 28 May 2022.

       Plaintiffs have good cause to request this relief. Plaintiffs will be filing an amended

complaint as a matter of course pursuant to Federal Rule of Civil Procedure 15(a)(1). Plaintiffs’

undersigned attorney Kel McClanahan was awaiting the publication of an opinion resolving a

comparable dispute in another federal district court, which he had been given reason to expect

earlier last month but which was not issued until 26 April, and of which he did not become aware

until 2 May. Given that the structure of the amended complaint would rely on the outcome of the

other case, Plaintiffs maintain that this was a reasonable decision. Mr. McClanahan apologizes

for filing this Motion after the 28 April deadline has passed, but he and his family were ill for

most of last week and the deadline escaped his notice. Plaintiffs maintain that serving a

complaint that the plaintiffs already intend to amend would unnecessarily complicate the case




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and would not serve judicial economy, and so they ask for an additional month to allow for the

filing and service of the amended complaint.

       Defendants have not been contacted regarding this Motion because they have not yet

been served.

Date: May 2, 2022

                                                Respectfully submitted,

                                                 /s/ Matthew Hoppock
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